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The Honorable Leo T. Sorokin                              July 25, 2018
United States District Court
John Joseph Moakley Courthouse
1 Courthouse Way
Boston, Massachusetts 02210

Re: Ross McLellan



My name is Alexander LePage and I am Ross McLellan’s nephew and godson. I
am a nineteen year old college student. Adjectives such as generous, caring,
and mentor come to mind when I think about his character. I have the utmost
respect for my Uncle Ross and I am proud to be able to call him my godfather.

Ross is someone who would do anything for me and would truly do whatever he
could to help anyone. He started a college savings fund for me and my sister
(and each of my cousins) when I was born and it has been extremely helpful
with the costs of school. When I was a small child, he would sometimes get
Bruins or Red Sox tickets and he would always ask if I wanted to go. I
remember when I was 9-years-old, he took me to my first Bruins game to
watch them play the Washington Capitals and my favorite player, Alex
Ovechkin. I will never forget that memory in my life. Ross also supported me
when I first got my license. My grandfather had just passed away and he
went out of his way to urge my parents to let me have his car. He truly has
gone out of his way to help me and I will be forever grateful.

Ross is one of the most caring individuals I have ever known. He constantly
calls and texts me about school, hockey, and everyday events in my life.
During my four years of high school hockey, he consistently asked me about
how my team was doing, went to numerous games and followed my team in the
news. Throughout my college search, he would call me to give me information
on schools. I was proud to be accepted into his alma mater, Stonehill College.
When I was accepted, he offered to get in touch with alumni who were
former classmates of his to assist me if I needed anything. He advised me so
much and was a great resource during the decision process. I am thankful to
have an uncle and godfather like Ross to look up to and go to him with
anything.
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Ross has been a great role model to me throughout my life. I would be proud
to follow in his footsteps as a businessman, husband, and father. He has had
many accomplishments such as an MBA from Boston College, numerous
certifications in the financial industry, accomplished speaker and published
writer in business journals. If you met him personally you would realize that
he is one of the most likeable guys you could ever meet. He has more friends
than anyone I know from all walks of life. But I respect him most for being a
dedicated family man who I know I could go to with any problem and he would
not judge me but offer support and guidance. He is one of the first people to
offer to help coach a team that any of his children are on. Ross always makes
sure that his wife and my mother have wonderful birthdays. I look forward
to him mentoring me in my future endeavors. I am truly blessed to have him in
my life and I will support him with the same respect he has demonstrated to
me through my life.

Respectfully,

Alexander R. LePage
